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IN THE UNITED sTATEs DISTRICT COURT Fn£o sr §§ D (~
FoR THE WESTERN DISTRICT oF TENNESSEE T' "“"` ` "`
WESTERN DWISION 95 JUH m3 pH 2, 12

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UNITED sTATEs 0F AMERICA W.c). cs ali tailings

V. Cr. No. 05 -20206-D

REGINALD SELLERS

ORDER SPECIFYING PERIOD OF
DELAY EXCLUDABLE UNDER SPEEDY TRIAL ACT

The defendant requested court appointed counsel and the court appointed the Federal
Defender's office to represent him in this action. Pursuant to the Speedy Trial Act, as set out in 18
U.S.C. § 316l(h)(8)(B)(iv), a defendant may be granted a period of excludable delay to allow
continuity of counsel.

IT IS THEREFORE ORDERED that the time period of June l, 2005 through June 3, 2005
be excluded from the time limits imposed by the Speedy Trial Act for trial of this case.

DETENTION HEARING/ARRAIGNMENT IS RESET TO FRIDAY, JUNE 3, 2005

at 3:00 p.m. BEFORE MAGISTRATE JUDGE TU M. PHAM.

c»§zr/E)ms @.J

United States Magistrate Judge

Date: @/', 200(

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UNITED sTTES DISTRIC COURT - WSRNETE D"RITICT o TENNESSEE

 
 
   

Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 2:05-CR-20206 Was distributed by faX, mail, or direct printing on
June 7, 2005 to the parties listedl

 

 

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Honorable Bernice Donald
US DISTRICT COURT

